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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 ANTHONY W. TAYLOR,                          )
                                             )
                Plaintiff,                   )       No.:1:17-cv-2384-JMS-MPB
 v.                                          )
                                             )
 CORIZON HEALTH,                             )
                                             )
                Defendants,                  )

      DEFENDANTS MICHAEL PERSON, M.D., CHRISTOPHER NELSON, M.D.,
  BARBARA BRUBAKER, NP, DEBORAH PERKINS, NP, KATRINA CLARKSON AND
   STEVEN CLARKSON, AS PERSONAL REPRESENTATIVES OF THE ESTATE OF
              JOHN B. CLARKSON, M.D., AND CORIZON, LLC’S
                  MOTION FOR SUMMARY JUDGMENT

        Defendants Corizon, LLC, Michael Person, M.D., Barbara A. Brubaker, NP, Deborah

 Perkins, NP, Christopher Nelson, M.D., and Katrina Clarkson and Steven Clarkson, as Personal

 Representatives of the Estate of John B. Clarkson, M.D. (“Defendants”), by and through counsel

 and pursuant to Rule 56 of the Federal Rules of Civil Procedure and S.D. Ind. L.R. 56-1,

 respectfully move the Court for summary judgment in their favor for the reasons set forth in the

 accompanying Brief. The record evidence shows that Defendants were not deliberately

 indifferent to Plaintiff’s medical needs.

        In support of this Motion, Defendants submit the attached Brief; the Index of

 Exhibits; Exhibit A, the Declaration of Dr. Bruce Ippel; and Exhibit A-1, Plaintiff’s Medical

 Records; Exhibit B, the Declaration of Dr. Christopher Nelson; Exhibit C, the Declaration of

 Deborah Perkins, NP; Exhibit D, the Declaration of Barbara Brubaker, NP; and Exhibit E,

 the Declaration of Dr. Michael Person.

        WHEREFORE, Defendants Corizon, LLC, Michael Person, M.D., Barbara A. Brubaker,

 NP, Deborah Perkins, NP, Christopher Nelson, M.D., and Katrina Clarkson and Steven Clarkson,

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 as Personal Representatives of the Estate of John B. Clarkson, M.D., request that this Court

 grant summary judgment in their favor and for all other appropriate relief.


        Respectfully submitted this 20th day of July, 2018.


                                                     Respectfully submitted,


                                                     /s/Jeb A. Crandall
                                                     JEB A. CRANDALL (#26323-49)
                                                     Attorney for Defendants Corizon, LLC,
                                                     Michael Person, M.D., Barbara A.
                                                     Brubaker, NP, Deborah Perkins, NP,
                                                     Christopher Nelson, M.D., and Katrina
                                                     Clarkson and Steven Clarkson, as Personal
                                                     Representatives of the Estate of John B.
                                                     Clarkson, M.D.


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 20th day of July 2018, a copy of the foregoing document was

 filed electronically. Notice of this filing will be sent to the following parties by operation of the

 Court’s electronic filing system. Parties may access this filing through the Court’s system.

         [n/a]

         I hereby certify that on the 20th day of July 2018, a copy of the foregoing was mailed, by

 first class mail U.S. Mail, postage prepaid and properly addressed to the following:

         Anthony W. Taylor #910720
         New Castle Correctional Facility
         New Castle – CF
         Inmate Mail / Parcelse
         1000 Van Nuys Road
         New Castle, IN 47362
         Pro Se

                                                       /s/ Jeb A. Crandall




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